4 F.3d 986
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph SEAGLE, Plaintiff-Appellant,v.Joseph HAMILTON;  B. C. Lambert;  Jerry Ikard;  Joseph G.Pickelsimer;  Ray Cook;  KEZIAL, First Name Unknown;  R. M.Jarvis; Mitch Johnson;  John Hosehouser,Defendants-Appellees.
    No. 93-6355.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 29, 1993.Decided:  August 19, 1993.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.
      Ralph Seagle, Appellant Pro Se.
      Sylvia Hargett Thibaut, Assistant Attorney General, for Appellees.
      W.D.N.C.
      AFFIRMED
      Before MURNAGHAN and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Ralph Seagle appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Seagle v. Hamilton, No. CA-91-91-ST-C-MU (W.D.N.C. March 23, 1993).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We deny Seagle's motion for appointment of counsel.  See Whisenant v. Yuam, 739 F.2d 160 (4th Cir. 1984)
      
    
    